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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 21-81382-CIV-ALTMAN

 YUJING ZHANG,

         Petitioner,

 v.

 UNITED STATES OF AMERICA,

       Respondent.
 ___________________________/

                                                ORDER

         Yujing Zhang—a detainee at Glades County Detention Center who suggests that she’s being

 detained by U.S. Immigration and Customs Enforcement (“ICE”)—has filed two letters. See First

 Letter [ECF No. 1]; Second Letter [ECF No. 3]. In the First Letter, Zhang asks for (1) the appointment

 of “a judge or council [sic]” and (2) access to a “dorm phone” so that she can understand the basis

 for her custody. See First Letter. In the Second Letter, Zhang asks this Court to release her from the

 Glades County Jail because, she says, ICE has no authority to detain her at Glades County Detention

 Center. See Second Letter (“[A]lthough I explained to Glades county Jail officer that I should get out

 of the jail, but some of them think I’m custody by ICE . . . . While Glade’s ICE’s opinion is that I

 could be custody by them because of some false material they got While I challenge ICE’s legality to

 custody me.” (errors in original)).

         “Federal courts must ‘look behind the label’ of an inmate’s pro se motion and determine

 whether there is any framework under which [their] claim might be cognizable.” United States v. Nickson,

 521 F. App’x 867, 868 (11th Cir. 2013) (cleaned up). It’s unclear to us whether Zhang’s letters should

 be construed as a habeas action under 28 U.S.C. § 2241, an action under 42 U.S.C. § 1983, or an action

 under Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971). Regardless of how we construe Zhang’s
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 letters, though, they do not “substantially follow” the prescribed forms and are not “signed under

 penalty of perjury,” as required by our Local Rules. See S.D. FLA. LOC. R. 88.2(a). Zhang’s case is

 therefore subject to dismissal on this basis alone.

         More importantly, and for two reasons, we won’t ask Zhang to amend on the proper form.

 First, to the extent we construe the letters as a § 2241 habeas petition—the most plausible

 interpretation—we would have no jurisdiction over that petition. That’s because Zhang is confined

 outside this District. See Rumsfeld v. Padilla, 542 U.S. 426, 443 (2004) (“The plain language of the habeas

 statute thus confirms the general rule that for core habeas petitions challenging present physical

 confinement, jurisdiction lies in only one district: the district of confinement.”); Garcia v. Warden, 470

 F. App’x 735, 736 (11th Cir. 2012) (“[J]urisdiction for § 2241 petitions lies only in the district of

 confinement.”); see also 28 U.S.C. § 89(b) (showing that Glades County, Florida, is in the Middle

 District of Florida).

         Second, even if we were to interpret Zhang’s filings as advancing claims under § 1983 or Bivens,

 our Court wouldn’t be the proper venue for Zhang’s case. Under 28 U.S.C. § 1391(b), a civil action

 may be brought in (1) “a judicial district in which any defendant resides, if all defendants are residents

 of the State in which the district is located,” or (2) “a judicial district in which a substantial part of the

 events or omissions giving rise to the claim occurred, or a substantial part of property that is the

 subject of the action is situated.” Neither of these conditions are satisfied here. One, Zhang has named

 no defendant and (thus) no defendant resides in this District. 1 Two, all the events giving rise to Zhang’s

 action appear to have taken place in the Glades County Detention Center, which (again) lies outside

 this District. As a result, this isn’t the proper forum for Zhang’s suit.




 1
  In any event, given that the events she’s challenging all occurred outside this District, it’s extremely
 unlikely that any defendant would reside in this District—even had any been named.
                                                       2
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         In short, since Zhang’s letters do not comport with our procedural rules, and because Zhang

 has filed her action in the wrong District, this action must be DISMISSED. Of course, the Court will

 dismiss this action without prejudice, meaning that Zhang may re-file her action in the appropriate forum:

 the Middle District of Florida.

                                                    ***

         Having carefully reviewed Zhang’s letters, the record, and the governing law, the Court hereby

 ORDERS and ADJUDGES that this case is DISMISSED. The Clerk of Court shall CLOSE this

 case. Any pending motions are DENIED as moot. All deadlines and hearings are TERMINATED.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 25th day of August 2021.




                                                          __________________________________
                                                          ROY K. ALTMAN
                                                          UNITED STATES DISTRICT JUDGE


 cc:     Yujing Zhang, pro se
         counsel of record




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